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  IT IS ORDERED as set forth below:




  Date: February 3, 2021
                                                    _____________________________________
                                                               Lisa Ritchey Craig
                                                          U.S. Bankruptcy Court Judge


 _______________________________________________________________

                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN THE MATTER OF:                       :      CASE NUMBER
                                        :
CASSANDRA JOHNSON LANDRY,               :      18-55697-LRC
                                        :
                                        :
                                        :      IN PROCEEDINGS UNDER
                                        :      CHAPTER 7 OF THE
      DEBTOR.                           :      BANKRUPTCY CODE

                                        ORDER

      Before the Court is Debtor’s Objection to Claim of Select Portfolio LLC (Doc. 126,

as amended by Doc. 149) (the “Claim Objection”).

      On April 3, 2018, Debtor filed a voluntary petition under Chapter 13 of the

Bankruptcy Code. On September 13, 2018, Debtor voluntarily converted her bankruptcy

case to a case under Chapter 7. See Doc. 72. S. Gregory Hays (the “Trustee”) was

appointed as trustee. The Trustee filed a notice of assets and requested the setting of a
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claims bar date.

       On July 12, 2018, Select Portfolio Servicing, Inc. (“SPS”) filed a proof of claim

asserting a secured claim on behalf of Wilmington Trust, National Association (the

“Claim”) arising from a residential real estate loan (Claim Number 17-2). Debtor opposes

payment of the Claim because she received a letter from SPS indicating that the lien on real

estate would be released and a Form 1099-C evidencing cancellation of indebtedness

income of $145,863 received Debtor. SPS has not responded to the Objection.

       Nonetheless, the Court cannot sustain the Claim Objection because it is moot and

because Debtor lacks standing to object to the Claim. The Trustee’s final report indicates

that he does not intend to pay the Claim. See Doc. 332.

       Further, Chapter 7 debtors lack standing to object to a claim unless the case is a

surplus case that will result in a distribution under § 726(a)(6), or the underlying debt is

nondischargeable. In re Malsch, 417 B.R. 458, 461 (Bankr. N.D. Ohio 2009); see also In

re Cannon, 2017 WL 3491825, at *1 (Bankr. N.D. Fla. June 5, 2017); In re Coleman, 131

B.R. 59, 61 (Bankr. N.D. Tex. 1991) (finding Chapter 7 debtors lacked standing to object

to a claim because they had “not shown that there will be a surplus”). Here, a review of

the claims registry and the Trustee’s final report suggests that there will be no distribution

under § 726(a)(6), and Debtor has not established otherwise. See Doc. 332. Additionally,

the debt at issue does not appear to be nondischargeable. SPS has not filed a complaint

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for a determination that the Claim is for a nondischargeable debt, and the deadline for

objecting to the dischargeability of a particular debt has long since passed.

       For these reasons, the Court finds that the Claim Objection must be, and hereby is,

DENIED.



                                   END OF DOCUMENT

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